         Case 1:21-cv-00751-DAE Document 200 Filed 07/31/24 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

In re CASSAVA SCIENCES INC.                     §
SECURITIES LITIGATION                           §       Master File No. 1:21-cv-00751-DAE
                                                §
                                                §                 CLASS ACTION
This Document Relates to:                       §
                                                §
               ALL ACTIONS                      §
                                                §

        DEFENDANTS’ UNOPPOSED MOTION TO WITHDRAW AS COUNSEL

       In accordance with W.D. Local Rule AT-3, the undersigned counsel for Defendants at

Gibson Dunn & Crutcher LLP respectfully move to withdraw as counsel for Remi Barbier and

Lindsay Burns in this matter.     Mr. Barbier and Dr. Burns have retained separate counsel.

Undersigned counsel moves to withdraw only as to Mr. Barbier and Dr. Burns, and will continue

to represent Cassava Sciences, Inc. and other individual defendants in this matter.

       Mr. Barbier and Dr. Burns will be represented by C. Shawn Cleveland and Douglas W.

Green from Baker & Hostetler LLP, which is located at 2850 N. Harwood St., Suite 1100, Dallas,

Texas 75201. Dkt. 197 and 198.

       Undersigned counsel has conferred with Plaintiffs regarding this Motion, and Plaintiffs do

not oppose this Motion to Withdraw. A proposed order is attached for the Court’s convenience.




                                                1
        Case 1:21-cv-00751-DAE Document 200 Filed 07/31/24 Page 2 of 3




Dated: July 31, 2024                Respectfully submitted,

                                    /s/ Gregg Costa
                                    Gregg Costa (Tx. Bar No. 24028160)
                                    Trey Cox (Tx. Bar No. 24003722)
                                    GIBSON, DUNN & CRUTCHER LLP
                                    811 Main Street Suite 3000
                                    Houston, TX 77002
                                    Telephone: 346.718.6600
                                    Facsimile: 346.718.6979
                                    gcosta@gibsondunn.com
                                    tcox@gibsondunn.com

                                    Monica K. Loseman (admitted pro hac vice)
                                    Scott Campbell (admitted pro hac vice)
                                    John Turquet Bravard (admitted pro hac vice)
                                    GIBSON, DUNN & CRUTCHER LLP
                                    1801 California Street
                                    Denver, CO 80202-2642
                                    Telephone: 303.298.5700
                                    Facsimile: 303.298.5907
                                    mloseman@gibsondunn.com
                                    scampbell@gibsondunn.com
                                    jturquetbravard@gibsondunn.com

                                    Mary Beth Maloney (admitted pro hac vice)
                                    GIBSON, DUNN & CRUTCHER LLP
                                    200 Park Avenue
                                    New York, NY 10166
                                    Telephone: 212.351.4000
                                    Facsimile: 212.351.6315
                                    mmaloney@gibsondunn.com

                                    Attorneys for Defendants




                                       2
         Case 1:21-cv-00751-DAE Document 200 Filed 07/31/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

The undersigned certifies that on July 31, 2024, a true and correct copy of the foregoing was served

upon each attorney of record via email.


                                                     /s/ Gregg Costa________
                                                     Gregg Costa




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